           Case 1:24-cv-02670-RJL         Document 1      Filed 09/18/24     Page 1 of 8




                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA



   UNITED STATES OF AMERICA
   c/o Department of Justice
   Washington, D.C. 20530,

                                   Plaintiff,

                                                       Civil Action No.
      v.

   RYAN COHEN
   c/o RC Ventures, LLC
   P.O. Box 25250
   PMB 30427
   Miami, FL 33102

                                Defendant.




        COMPLAINT FOR CIVIL PENALTIES FOR FAILURE TO COMPLY
      WITH THE PREMERGER REPORTING AND WAITING REQUIREMENTS
                   OF THE HART-SCOTT RODINO ACT

       The United States of America, acting under the direction of the Attorney General of the

United States and at the request of the United States Federal Trade Commission, brings this civil

antitrust action to obtain monetary relief in the form of civil penalties against Defendant Ryan

Cohen (“Cohen”). The United States alleges as follows:

                              I.        NATURE OF THE ACTION

       1.       Cohen violated the notice and waiting period requirements of Section 7A of the

Clayton Act, 15 U.S.C. § 18a, commonly known as the Hart-Scott-Rodino Antitrust
        Case 1:24-cv-02670-RJL             Document 1     Filed 09/18/24      Page 2 of 8




Improvements Act of 1976 (“HSR Act” or “Act”), in March 2018 when he acquired voting

securities of Wells Fargo & Company (“Wells Fargo”) in excess of the threshold for filing

established by the HSR Act.

                              II.     JURISDICTION AND VENUE

       2.      This Court has jurisdiction over the subject matter of this action pursuant to

Section 7A(g) of the Clayton Act, 15 U.S.C. § 18a(g), and 28 U.S.C. §§ 1331, 1337(a), 1345,

and 1355, and over Defendant by virtue of Defendant’s consent in the Stipulation relating hereto,

to the maintenance of this action and entry of the Final Judgment in this District.

       3.      Venue is proper in this District by virtue of Defendant’s consent in the Stipulation

relating hereto, to the maintenance of this action and entry of the Final Judgment in this District.

                                    III.    THE DEFENDANT

       4.      Defendant Cohen is a natural person with his principal office and place of

business at RC Ventures, LLC, P.O. Box 25250, PMB 30427, Miami, FL 33102. Cohen is an

entrepreneur and is the managing member of RC Ventures, LLC. Cohen is engaged in

commerce, or in activities affecting commerce, within the meaning of Section 1 of the Clayton

Act, 15 U.S.C. § 12, and Section 7A(a)(1) of the Clayton Act, 15 U.S.C. § 18a(a)(1). At all times

relevant to this complaint, Cohen had sales or assets that met the operative threshold.

                                     IV.     OTHER ENTITY

       5.      Wells Fargo & Company is a corporation organized under the laws of Delaware

with its principal place of business at 420 Montgomery Street, San Francisco, CA 94104. Wells

Fargo is engaged in commerce, or in activities affecting commerce, within the meaning of


                                                 2
         Case 1:24-cv-02670-RJL          Document 1        Filed 09/18/24      Page 3 of 8




Section 1 of the Clayton Act, 15 U.S.C. § 12, and Section 7A(a)(1) of the Clayton Act, 15 U.S.C.

§ 18a(a)(1). At all times relevant to this complaint, Wells Fargo had sales or assets that met the

operative threshold.

                   V.      THE HART-SCOTT-RODINO ACT AND RULES

       6.      The HSR Act requires certain acquiring persons and certain persons whose voting

securities or assets are acquired to file notifications with the Department of Justice and the

Federal Trade Commission (collectively, the “federal antitrust agencies”) and to observe a

waiting period before consummating certain acquisitions of voting securities or assets. 15 U.S.C.

§ 18a(a) and (b). These notification and waiting period requirements apply to acquisitions that

meet the HSR Act’s size of transaction and size of person thresholds, which have been adjusted

annually since 2004. The size of transaction threshold is met for transactions valued over

$50 million, as adjusted ($84.4 million in 2018). In addition, there is a separate filing

requirement for transactions in which the acquirer will hold voting securities in excess of

$100 million, as adjusted ($168.8 million in 2018). With respect to the size of person thresholds,

the HSR Act requires one person involved in the transaction to have sales or assets in excess of

$10 million, as adjusted ($16.9 million in 2018), and the other person to have sales or assets in

excess of $100 million, as adjusted ($168.8 million in 2018).

       7.      The HSR Act’s notification and waiting period requirements are intended to give

the federal antitrust agencies prior notice of, and information about, proposed transactions. The

waiting period is also intended to provide the federal antitrust agencies with the opportunity to




                                                  3
         Case 1:24-cv-02670-RJL          Document 1        Filed 09/18/24     Page 4 of 8




investigate a proposed transaction and to determine whether to seek an injunction to prevent the

consummation of a transaction that may violate the antitrust laws.

        8.      At all times relevant to this complaint, the HSR Act required, inter alia, an

acquirer who meets the operative threshold who, as a result of an acquisition, would hold voting

securities in excess of a relevant filing threshold of an issuer who also meets the operative

threshold, to file premerger notification and report forms with the federal antitrust agencies and

to observe the required waiting period before making the acquisition, unless otherwise exempted.

        9.      As codified in 15 U.S.C. § 18a(c)(9), the Act exempts from the requirements of

the HSR Act acquisitions of voting securities “solely for the purpose of investment” if, as a result

of the acquisition, the securities held do not exceed 10 percent of the outstanding voting

securities of the issuer.

        10.     Pursuant to Section (d)(2) of the HSR Act, 15 U.S.C. § 18a(d)(2), rules were

promulgated to carry out the purposes of the HSR Act. 16 C.F.R. §§ 801-03 (“HSR Rules”). The

HSR Rules, among other things, define terms contained in the HSR Act.

        11.     Section 801.1(i)(1) of the HSR Rules, 16 C.F.R. § 801.1(i)(1), defines the term

“solely for the purpose of investment” as follows:

                Voting securities are held or acquired “solely for the purpose of investment”
                if the person holding or acquiring such voting securities has no intention of
                participating in the formulation, determination, or direction of the basic
                business decisions of the issuer.

        12.     Section 7A(g)(1) of the Clayton Act, 15 U.S.C. § 18a(g)(1), provides that any

person, or any officer, director, or partner thereof, who fails to comply with any provision of the

HSR Act is liable to the United States for a civil penalty for each day during which such person

                                                  4
         Case 1:24-cv-02670-RJL         Document 1        Filed 09/18/24     Page 5 of 8




is in violation. Pursuant to the Federal Civil Penalties Inflation Adjustment Act Improvements

Act of 2015, Pub. L. 114-74, § 701 (further amending the Federal Civil Penalties Inflation

Adjustment Act of 1990), the dollar amounts of civil penalties listed in Federal Trade

Commission Rule 1.98, 16 C.F.R. § 1.98, are adjusted annually for inflation; the maximum

amount of civil penalty in effect at the time of Cohen’s corrective filing was $43,792 per day.

86 Fed. Reg. 2541 (January 13, 2021).

                   VI.     DEFENDANT’S VIOLATION OF THE HSR ACT

        13.    Beginning in June 2016, Cohen made periodic acquisitions of Wells Fargo voting

securities.

        14.    On February 5, 2018, Cohen emailed Wells Fargo’s CEO to advise him of the

contributions he could make to Wells Fargo should he become a member of the Board of

Directors. Cohen also made suggestions on how Wells Fargo could improve its operations, such

as improving its technology and mobile app. Cohen proceeded to have periodic communications

with Wells Fargo’s leadership regarding suggestions to improve Wells Fargo’s business and to

advocate for a potential board seat through at least April 2020.

        15.    On March 22, 2018, Cohen acquired 562,077 voting securities in Wells Fargo in

the open market, which resulted in his aggregated holdings of Wells Fargo voting securities

exceeding the $100 million threshold, as adjusted, which in March 2018, was $168.8 million.

        16.    Cohen’s acquisitions of Wells Fargo voting securities described in Paragraph 15

above were not exempt under the HSR Act’s “solely for the purpose of investment” exemption.

Although Cohen’s holdings of Wells Fargo voting securities did not exceed 10 percent of the


                                                 5
        Case 1:24-cv-02670-RJL          Document 1       Filed 09/18/24      Page 6 of 8




outstanding voting securities, Cohen’s intent when he made the March 22, 2018, acquisitions of

Wells Fargo voting securities was to participate “in the formulation, determination, or direction

of the basic business decisions” of Wells Fargo, as evidenced, inter alia, by Cohen’s email on

February 5, 2018, wherein he advocated to join the Wells Fargo’s board as described in

Paragraph 14.

       17.      Although required to do so, Cohen did not file anything under the HSR Act or

observe the HSR Act’s waiting period prior to completing the March 22, 2018, transaction.

       18.      From March 22, 2018, through September 2, 2020, Cohen continued to acquire

Wells Fargo voting securities through open market purchases, and in twenty instances those

acquisitions exceeded 100,000 shares. For example, Cohen acquired: 350,000 voting securities

on August 14, 2019; 354,131 voting securities on March 10, 2020; 366,316 voting securities on

July 20, 2020; and 500,000 voting securities on August 5, 2020.

       19.      All these acquisitions described in Paragraph 18 were made on the open market.

Open market acquisitions require an acquirer to decide affirmatively and actively to acquire

voting securities; given the scope of Cohen’s open market acquisitions, it was not excusable

negligence for him to be unaware of HSR Act legal requirements.

       20.      On January 14, 2021, Cohen made a corrective filing under the HSR Act for the

acquisition he made on March 22, 2018. That acquisition resulted in Cohen’s aggregated

holdings of Wells Fargo voting securities exceeding the $100 million threshold, as adjusted.

       21.      Cohen was in continuous violation of the HSR Act from March 22, 2018, when he

acquired the Wells Fargo voting securities valued in excess of the HSR Act’s $100 million filing


                                                6
         Case 1:24-cv-02670-RJL           Document 1        Filed 09/18/24       Page 7 of 8




threshold, as adjusted, through February 16, 2021, when the waiting period expired on his

corrective filing.

                                   VII.    REQUESTED RELIEF

        WHEREFORE, the United States requests:

        a.      that the Court adjudge and decree that Defendant’s acquisitions of Wells Fargo

voting securities from March 22, 2018, through September 2, 2020, were violations of the HSR

Act, 15 U.S.C. § 18a; and that Defendant was in violation of the HSR Act each day from March

22, 2018, through February 16, 2021;

        b.      that the Court order Defendant to pay to the United States an appropriate civil

penalty as provided by the Section 7A(g)(1) of the Clayton Act, 15 U.S.C. § 18a(g)(1), the Debt

Collection Improvement Act of 1996, Pub. L. 104 134 § 31001(s) (amending the Federal Civil

Penalties Inflation Adjustment Act of 1990, 28 U.S.C. § 2461), and the Federal Civil Penalties

Inflation Adjustment Act Improvements Act of 2015, Pub. L. 114-74, § 701 (further amending

the Federal Civil Penalties Inflation Adjustment Act of 1990), and Federal Trade Commission

Rule 1.98, 16 C.F.R. § 1.98, 86 Fed. Reg. 2541 (January 13, 2021);

        c.      that the Court order such other and further relief as the Court may deem just and

proper; and

        d.      that the Court award the United States its costs of this suit.




                                                   7
         Case 1:24-cv-02670-RJL   Document 1   Filed 09/18/24       Page 8 of 8




Dated: ______________________

FOR THE PLAINTIFF UNITED STATES
OF AMERICA:

Jonathan Digitally   signed by
            Jonathan Kanter                      MARIBETH Digitally   signed by
                                                             MARIBETH PETRIZZI

Kanter      Date: 2024.09.13
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